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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

WAYNE LABOEUF,                                        :   CIVIL ACTION
Plaintiff,                                            :
                                                      :   No. 16-cv-12419 L(1)
v.                                                    :
                                                      :   Judge: Eldon E. Fallon
JANSSEN PHARMACEUTICALS,                              :   Magistrate Judge: Sally Shushan
INC., ET AL.,                                         :
Defendant(s)



                FIRST SUPPLEMENTAL AND AMENDING COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes the plaintiff, WAYNE

LABOUEF, who respectfully seeks to Supplement and Amend his Original Complaint as

follows:

                                                 I.

       To supplement and amend Complaint to add the Paragraph 2(g) as follows:

                                                “2.

                g. GENERICS            BIDCO          I,      LLC      dba       QUALITEST
                   PHARMACEUTICALS. is a corporation organized under the laws of
                   Alabama conducting business in Louisiana at all relevant times including, but
                   not limited to, business related to Risperidone.”

                                                II.

       Plaintiff wishes to substitute Generics Bidco I, LLC dba Qualitest Pharmaceuticals., in

the place of, Brenn Distribution, Inc. This correction is to be made throughout the entire Petition

an in any matter where the petitioner refers to Brenn Distribution, Inc.




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                                                III.

       Plaintiff wishes to remove, any and all claims, against the defendant, VINTAGE

PHARMACEUTICALS, LLC (incorrectly names in the Complaint as Endo Pharmaceuticals,

Inc. and hereinafter referred to as “Vintage”), as set forth in paragraph 2(f), of his Complaint

including the prayer of said document.

       Plaintiff wishes to reiterate and reaver any and all statements and/or facts raised in the

original Complaint as if were copied here in extenso.

                                              RESPECTFULLY SUBMITTED,

                                              320 North Carrollton Avenue
                                              Suite 101
                                              New Orleans, LA 70119
                                              Telephone: (504) 486-4343
                                              Facsimile: (504) 297-1429

                                              BY:__John D. Sileo______________________
                                                    JOHN D. SILEO (La. Bar Roll # 17797)
                                                    CASEY W. MOLL (La. Bar Roll # 35925)




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